Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 1 of 6
Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 2 of 6
Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 3 of 6
Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 4 of 6
Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 5 of 6
Case 0:23-cr-60117-CMA Document 10 Entered on FLSD Docket 06/23/2023 Page 6 of 6




          6/22/2023
